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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                                Norfolk Division


 RAUL PADILLA-RUIZ, et al.,

                   Plaintiffs,

 V.                                               CIVIL ACTION NO. 2:16cv630

 COMMUNICATION TECHNOLOGIES, INC.,

                   Defendant.


                          OPINION and FINAL ORDER


        On May 31, 2018, Communication Technologies C'COMTek") filed

 a    Motion   for Summary   Judgment      (^"Motion"). EOF No. 52. COMTek

 asserts that it is entitled to judgment as a matter of law on

 Plaintiffs' two remaining claims against COMTek, which are a claim

 pursuant to the Uniformed Services Employment and Reemployment

 Rights Act (^^USERRA"), and a Puerto Rico tort law claim. See id.;

 EOF No. 53. The Motion was referred to a United States Magistrate

 Judge. EOF No. 73. The United States Magistrate Judge's Report and

 Recommendation     (^'R&R"),    was   filed   on    September 17,    2018.      EOF

 No. 81.


        The R&R recommends that COMTek's Motion should be denied as


 to    Padilla-Ruiz's   USERRA    claim,    but     should   be   granted   as   to

 Plaintiffs' tort claim. R&R at 1, EOF No. 81.^ COMTek objects to




       ^ Padilla-Ruiz's spouse and the couple's ''conjugal partnership"
 have joined as plaintiffs to the tort claim. However, Padilla-Ruiz
 is the only plaintiff who raises the USERRA claim against COMTek.
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